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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 Canvasfish.com, LLC,
 a Montana Limited Liability Company,

        Plaintiff,                                       Case No.: 1:21-cv-3676

                v.

 JOHN DOES 1-10,

       Defendants.
________________________________________________________________

                      COMPLAINT AND DEMAND FOR JURY TRIAL

       For this Complaint and Demand for Jury Trial in this matter, Plaintiff Canvasfish.com,

LLC, by and through its attorneys Revision Legal, PLLC, states as follows:


                          PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff Canvasfish.com, LLC (“Canvasfish”) is a Montana Limited Liability

Company.

       2.      Upon information and belief, Defendants John Does 1-10 (“Defendants”) are

residents of China.

       3.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17

U.S.C. § 501, et seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331.

       4.      Personal jurisdiction is proper over Defendants because exercise thereof would not

offend traditional notions of fair play or substantial justice because Defendants have purposefully

availed themselves of this forum state, the cause of action arises from Defendants’ activities here,

and the Defendants’ actions have caused damage to Canvasfish in the state of Illinois.



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        5.     Specifically, Defendants purposefully and intentionally availed themselves of this

forum state by manufacturing, importing, distributing, offering for sale, displaying, advertising,

and selling counterfeit goods bearing Canvasfish’s creative works; by manufacturing, importing,

distributing, offering for sale, displaying, advertising, and selling counterfeit goods bearing

Canvasfish’s trademark; by creating and operating interactive websites that reveal specifically

intended interactions with residents of the State of Illinois; and by creating and running Google

advertisements selling counterfeit goods specifically to residents of the State of Illinois.

        6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, e-commerce stores operating under several aliases. Specifically,

Defendants have targeted sales to Illinois residents by setting up and operating e-commerce stores

that target United States consumers using one or more aliases identified in Schedule A attached

hereto (“Seller Aliases”). They offer shipping to the United States, including Illinois, accept

payment in U.S. dollars and, on information and belief, have sold products using infringing and

counterfeit versions of Canvasfish’s federally registered trademarks, copyrighted designs, or both

to residents of Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging

in interstate commerce, and has wrongfully caused Canvasfish substantial injury in the State of

Illinois.




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                                    STATEMENT OF FACTS

                                            Introduction

       7.      This action has been filed by Canvasfish to combat e-commerce store operators

who trade upon Canvasfish’s reputation and goodwill by offering for sale and/or selling

unauthorized and unlicensed products, using infringing and counterfeit versions of Canvasfish’s

federally registered trademark and copies of Canvasfish’s federally registered copyright protected

Works (the “Counterfeit Products”). Defendants create e-commerce stores operating under one or

more Seller Aliases that are advertising, offering for sale and selling Counterfeit Products to

unknowing consumers. E-commerce stores operating under the Seller Aliases share unique

identifiers, establishing a logical relationship between them and that Defendants’ counterfeiting

operation arises out of the same transaction, occurrence, or series of transactions or occurrences.

Defendants attempt to avoid and mitigate liability by operating under one or more Seller Aliases

to conceal both their identities and the full scope and interworking of their counterfeiting operation.

Canvasfish is forced to file this action to combat Defendants’ counterfeiting and piracy of the

registered trademarks and copyrights, as well as to protect unknowing consumers from purchasing

Counterfeit Products over the Internet. Canvasfish has been and continuous to be irreparably

damaged through infringement of its valuable trademark and copyrights as a result of Defendants’

actions and seeks injunctive and monetary relief.


                                        Plaintiff’s Business

       8.      Canvasfish owns the intellectual property rights of Derek DeYoung, who is a well

and widely known artist and a graduate of the Kendall College of Art and Design with his principal

residence and place of business in Traverse City, Michigan.




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       9.       DeYoung offers his artistic works for sale online via the derekdeyoung.com

website.

       10.      DeYoung’s artistic works primarily focus on fish and fishing, and, in particular, the

sport of fly fishing. DeYoung’s unique style presents a deviation from traditional fly-fishing art,

which typically uses a palate of natural colors, because his work emphasizes the rich and vibrant

colors of the fish to produce a compelling result that is unlike any other artist in the field.

       11.      Due to the uniqueness of his work, DeYoung has contributed his art to products

produced by some of the world’s largest manufacturers and retailers of sporting equipment and

accessories, including collaborations with Burton Snowboards, Abel Reels, Simms, Costa,

OtterBox, Buff, and Wingo Outdoors.


                                Plaintiff’s Registered Trademarks

       12.      Canvasfish has taken significant steps to protect and register its trademark rights

with the United States Patent and Trademark Office (“USPTO”) as follows:


 Registration              Trademark                   Registration Date       Goods/Services
 Number
 6,157,362                 DEYOUNG                     September 22, 2020      IC 016: Original
                                                                               works of art namely,
                                                                               paintings

                                                                               IC 035: Online retail
                                                                               store        featuring
                                                                               artwork,      apparel,
                                                                               stickers, phone cases,
                                                                               drinkware, blankets,
                                                                               playing cards, boat
                                                                               wraps,       coasters,
                                                                               coolers




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       13.     Canvasfish has used the above mark (the “DeYoung Mark”) continuously and

exclusively on online retail store services since at least as early as October 2006 as well as on

original works of art since at least as early as November 2006.

       14.     Examples of how Plaintiff uses the DeYoung Mark are depicted below:



       Plaintiff’s Website Header:




       Original Work of Art:




       15.     Canvasfish has expended significant efforts and sums in developing the DeYoung

brand, business, and advertising under the DeYoung Mark.



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       16.     As a result of Canvasfish’s consistent, continuous, and exclusive use of the

DeYoung Mark in commerce, the mark has become well known across the globe and throughout

the United States.

                                  Plaintiff’s Registered Copyrights

       17.     Canvasfish owns several US Copyright Registrations for its unique works of art

that it makes available for sale on its website (“DeYoung Works”):

                      A. 4 in 1 - Face - VA 1-910-379

                      B. 4 in 1 - Northern Rockies - VA 1-992-855

                      C. 4 in 1 Full – Brown - VA 1-934-603

                      D. 4 in 1 Series - VA 1-900-160

                      E. 4 Panel – Brown October - VA 2-076-270

                      F. Abstract Bass Flank - VA 1-970-688

                      G. Abstract Brookie Flank - VA 1-934-679

                      H. Abstract Brookie Flank 2 - VA 1-934-674

                      I. Abstract Brown Flank – Blue - VA 1-970-688

                      J. Abstract Brown Rusty Spinner - VA 1-934-676

                      K. Abstract Cutthroat Yellowstone - VA 1-934-591

                      L. Abstract Rainbow Royal Wulff - VA 1-970-688

                      M. Abstract Tarpon Face – Blue - VA 1-970-693

                      N. Abstract Tarpon Flank – Keys (Sunlight) - VA 1-970-693

                      O. Brown Callibaetis - VA 2-076-693

                      P. Contemporary Brook Trout Illustration - VA 1-934-744

                      Q. Cubist Brown - VA 2-101-364



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                       R. Emigrant Risers - VA 2-218-646

                       S. Fab Four – Alaska - VA 1-934-684

                       T. Fab Four – Trout - VA 1-934-681

                       U. Grumpy Barracuda - VA 2-076-246

                       V. Henry’s Fork Riser - VA 1-934-685

                       W. Montana Fly Patch - VA 1-917-463

                       X. Permitopia - VA 2-076-204

                       Y. Pumpkinseed on Blue - VA 1-934-627

                       Z. Teton Risers – Night - VA 1-934-627

                       AA.    Trout Confetti 4 - VA 1-934-647

                       BB.    Trout Confetti 6 - VA 1-934-677

Exhibit 1 – Copyright Proof of Registration



                               Defendants’ Infringing Businesses

       18.     The success of the DeYoung Mark as used in commerce for online sales as well as

its use on the DeYoung Works has resulted in rampant counterfeiting and infringement. Canvasfish

has put forth a concerted effort to combat the counterfeiting and infringement activities complained

of herein. Canvasfish has identified numerous e-commerce stores including those operating under

the Seller Aliases, which were and are offering for sale and/or selling Counterfeit Products to

consumers in this Judicial District and throughout the United States. Ecommerce sales, including

sales via Defendants’ stores, have resulted in a sharp increase in the importation of unauthorized

products into the United States. Over 90% of all CBP intellectual property seizures were smaller

international mail and express shipments (as opposed to large shipping containers). Over 85% of



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CBP seizures originated from mainland China and Hong Kong. Counterfeit and pirated product

account for billions in economic losses, resulting in tens of thousands of lost jobs for legitimate

businesses and broader economic losses, including lost tax revenue. Exhibit 2 Excerpts from

Fiscal year 2018 U.S. Customs and Border Protection (“CBP”) Intellectual Property Seizure

Statistics Report.

       19.     Ecommerce service providers, like those used by Defendants to support their online

retail websites, do not subject sellers to adequate identity verification and confirmation procedures.

This allows counterfeiters to “routinely use false or inaccurate names and addresses when

registering with these e-commerce platforms.” Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon,

and Counterfeiting in the Age of the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see

also report on “Combating Trafficking in Counterfeit and Pirated Goods” prepared by the U.S.

Department of Homeland Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached

as Exhibit 4, and finding that on “at least some e-commerce platforms, little identifying

information is necessary for a counterfeiter to begin selling” and recommending that

“[s]ignificantly enhanced vetting of third-party sellers” is necessary. Counterfeiters hedge against

the risk of being caught and having their websites taken down from an e-commerce platform by

preemptively establishing multiple virtual storefronts. Exhibit 4 at p. 22. Since platforms generally

do not require a seller on a third-party marketplace to identify the underlying business entity,

counterfeiters can have many different profiles that can appear unrelated even though they are

commonly owned and operated. Exhibit 4 at p. 39. Further, “E-commerce platforms create

bureaucratic or technical hurdles in helping brand owners to locate or identify sources of

counterfeits and counterfeiters.” Exhibit 3 at pp. 186–187.




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       20.     Defendants John Does 1-10 (“Defendants”) are online retailers of clothing goods,

including t-shirts, sweatshirts, and masks. They have targeted online sales to Illinois residents by

setting up and operating e-commerce stores using the Seller Aliases, offer shipping to the United

States, including Illinois, accept payment in U.S. dollars, target consumers with online advertising

campaigns, and, on information and belief, have sold Counterfeit Products to residents of Illinois.

       21.     Upon information and belief, Defendants are residents of China and Vietnamm who

operate under a scheme of common ownership and control to create numerous online retail stores

under false names and payment accounts to sell clothing products and offer online retail services

under a false indication of origin.

       22.     Upon information and belief, Defendants also own and operate websites, run online

advertisements, and own and operate seller accounts on popular marketplaces such as eBay,

AliExpress, Wish, and Amazon.

       23.     Defendants spend significant time, effort, and funds to run targeted advertisements

geared toward United States consumers including Illinois residents through the use of Google Ads.


                         Defendants’ Willful Trademark Infringement

       24.     Plaintiff’s investigation of Defendants’ online stores revealed that, on the tails of

Plaintiff’s success, Defendants have co-opted the DeYoung Mark. Defendants use the DeYoung

Mark directly on their website, in product listing descriptions, on product images in marketing,

and as keywords in advertising and indexing.

       25.     Examples of Defendants’ use of the DeYoung Mark appear below:




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       26.    Defendants use the DeYoung Mark to promote and sell counterfeit goods to

customers online.

       27.    Defendants also deceive unknowing consumers by using the DeYoung Mark

without authorization within the content, text, and/or meta tags of their e-commerce stores to

attract various search engines crawling the Internet looking for websites relevant to consumer

searches for authorized products bearing the DeYoung Mark. Other e-commerce stores operating



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under the Seller Aliases omit using the DeYoung Mark in the item title to evade enforcement

efforts while using strategic item titles and descriptions that will trigger their listings when

consumers are searching for authorized DeYoung products.

       28.     Defendants have often posted wholesale copies of Plaintiff’s website product

listings on their own retail websites.

       29.     Defendants often publish an exact copy of Plaintiff’s entire listings, including

Plaintiff’s product descriptions and product images. Example below of an authorized Amazon

listing on the left, and an unauthorized Wish.com listing on the right.




       30.     Defendants’ use of the exact or substantially similar marks to the DeYoung Mark

on the same goods and services sold in the same stream of commerce to every-day consumers is

highly likely to cause confusion as to the origin of the goods and services among consumers.

       31.     After further investigation, Canvasfish found commonalities between the sellers.

       32.     The sellers used the same or similar website/storefront templates, most had direct

copies or edited copies of authorized Amazon brand page’s website product photos containing the

DeYoung Mark.




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       33.     Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales by designing the e-commerce

stores operating under the Seller Aliases so that they appear to unknowing consumers to be

authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating under the

Seller Aliases look sophisticated and accept payment in U.S. dollars via credit cards, Alipay,

Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller Aliases often include

content and images that make it very difficult for consumers to distinguish such stores from the

genuine stores selling authorized DeYoung products. Canvasfish has not licensed or authorized

Defendants to use the DeYoung Mark, and none of the Defendants are authorized retailers of

genuine DeYoung Products.


                          Defendant’s Willful Copyright Infringement

       34.     In addition to trading on Plaintiff’s DeYoung Mark, Defendants also sell shirts,

phone cases, masks, pillows, rugs, vehicle wraps, buffs, and other accessories bearing exact copies

of Plaintiff’s copyrighted works.

       35.     Defendants had access to Plaintiff’s works via his online store which is published

and available to anyone with internet access.

       36.     Upon information and belief, Defendants accessed Plaintiff’s works directly from

both its website as well as its authorized Amazon brand page and copied entire product listings,

including the descriptions of the products, links within the descriptions, and the images containing

the works themselves.

       37.     When a customer places an order via Defendants’ online store, if Defendants decide

to fill the order, they print the selected works on low-quality t-shirts, often overseas, and ship the

counterfeit products into the United States to the customer.


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  38.   Examples of Defendants’ infringement of Plaintiffs’ Works are displayed below:




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                               Injury to Plaintiff and Consumers

       39.     Defendants’ actions described above have damaged and irreparably harmed

Canvasfish.

       40.     Consumers are highly likely to be confused due to Defendant's use of Plaintiff’s

exact trademark and copyrighted designs.

       41.     If allowed to continue advertising and providing retail store services and online

retail store services under the DeYoung Mark, Defendants will further damage and injure

Canvasfish’s reputation and the goodwill associated with the DeYoung Mark, which are well-

known to the relevant consumers as source identifiers for high-quality services.

       42.     If allowed to continue advertising and offering products and services under the

DeYoung Mark, Defendants will continue to create significant likelihood of consumer confusion

that will irreparably harm the public and its interest in being free from confusion.


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           43.   Canvasfish has no adequate remedy at law.

           44.   Defendants knew or should have known that its activities described above

constitute trademark infringement, copyright infringement, and unfair competition.

           45.   Defendants acted knowingly and willfully in reckless disregard of Canvasfish’s

rights.


                                 FIRST CLAIM FOR RELIEF
                         Trademark Counterfeiting and Infringement
                      Under § 32(1) of the Lanham Act, 15 U.S.C. § 1114(1)

           46.   Canvasfish restates all prior paragraphs as if fully restated herein.

           47.   Defendants have used spurious designations that are identical to or substantially

indistinguishable from the DeYoung Mark on goods covered by registrations for the DeYoung

Mark.

           48.   Defendants’ actions as described above are likely to cause confusion mistake or

deception as to the origin, sponsorship, or approval of Defendants’ products and commercial

activities, and therefore constitute trademark infringement, false designation of origin,

counterfeiting, and unfair competition in violation of § 32(1) of the Lanham Act, 15 U.S.C. §

1114(1).

           49.   Defendants’ actions described above have, at all times relevant to this action, been

willful.

           50.   As a foreseeable, direct, and proximate cause of Defendants’ above-described

actions, Canvasfish and consumers have been and will continue being irreparably damaged.


                               SECOND CLAIM FOR RELIEF
                                    Trademark Infringement
                   Under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

           51.   Canvasfish restates all prior paragraphs as if fully restated herein.

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           52.   Defendants’ actions as described above are likely to cause confusion, mistake, or

deception as to the origin, sponsorship, or approval of Defendants’ products and commercial

activities, and therefore constitute trademark infringement, false designation of origin, and unfair

competition in violation of § 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

           53.   Defendants’ actions described above have, at all times relevant to this action, been

willful.

           54.   As a foreseeable, direct, and proximate cause of Defendants’ above-described

actions, Canvasfish and consumers have been and will continue being irreparably damaged.

           55.   Canvasfish has no adequate remedy at law.


                                  THIRD CLAIM FOR RELIEF
                                    Copyright Infringement
                                 Under 17 U.S.C. §§ 106 AND 501

           56.   Canvasfish incorporates all foregoing paragraphs as if fully restated herein.

           57.   Canvasfish owns a copyright registration for each of the works stated in paragraph

17 (a)-(t).

           58.   Canvasfish’s Works are widely disseminated via its own website and social media

accounts, and on physical products.

           59.   Defendants had access to Canvasfish’s Works.

           60.   Defendants downloaded Canvasfish’s Works from Canvasfish’s website and/or

authorized Amazon brand page for use in their infringement/counterfeit scheme.

           61.   Defendants have reproduced, prepared derivative works of, distributed copies of,

imported into the US, and displayed publicly works that are identical copies of, and substantially

similar to, Canvasfish’s works.




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       62.      As a result of Defendants’ infringement, Canvasfish has suffered monetary

damages/

       63.      Canvasfish is entitled to the recovery of, at its election, statutory damages, actual

damages, Defendant’s profits, and the costs of this action.

       64.      Canvasfish is also entitled to preliminary and permanent injunctive relief pursuant

to 17 U.S.C. § 502 and 17 U.S.C. § 106.

       65.      Canvasfish is also entitled its attorneys’ fees pursuant to 17 U.S.C. § 505 and § 17

U.S.C. § 106.


                                     PRAYER FOR RELIEF


       Canvasfish respectfully requests that the Court enter the following judgment against

Defendants:

   1. That the Court preliminarily and permanently enjoin and restrain Defendants, as well as

       their heirs, successors, assigns, officers, agents, and employees from:


             a. Reproducing, preparing derivative works of, distributing copies of, and displaying

                publicly Plaintiff Canvasfish’s Works;

             b. Manufacturing, importing, advertising, promoting, offering to sell, selling,

                distributing, or transferring any products bearing Plaintiff Canvasfish’s trademark

                or any confusingly similar trademark; and

             c. Aiding or assisting any other third party in subsections (a) and (b) above;

   2. That the Court award Canvasfish, at its election, its actual damages, lost profits,

       consequential damages, exemplary damages, statutory damages, and any other damages

       allowable under law;


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3. That the Court award Canvasfish its costs and attorneys’ fees, and;

4. That the Court award Canvasfish any other relief to which he is entitled.


Respectfully Submitted,

   Date: July 12, 2021                          Canvasfish.com, LLC


                                                        /s/ Amanda M Osorio
                                                        Amanda Osorio
                                                        John Di Giacomo
                                                        Eric Misterovich
                                                        Revision Legal, PLLC
                                                        444 Cass St., Suite D
                                                        Traverse City, MI 49684
                                                        (231) 714-0100
                                                        (231) 714-0200 (f)
                                                        eric@revisionlegal.com
                                                        amanda@revisionlegal.com
                                                        john@revisionlegal.com


                                                        Attorneys for Plaintiff




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                                     JURY DEMAND

       Plaintiff hereby requests a trial by jury for all eligible counts contained within this

Complaint.

Respectfully submitted,


Date: July 12, 2021                        Canvasfish.com, LLC

                                           /s/ Amanda Osorio
                                           Amanda Osorio
                                           Attorneys for Plaintiff
                                           Revision Legal, PLLC
                                           444 Cass St., Suite D
                                           Traverse City, MI 49684
                                           Phone: (231) 714-0100
                                           Fax: (231) 714-0200
                                           john@revisionlegal.com
                                           eric@revisionlegal.com
                                           amanda@revisionlegal.com




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